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10   Conditionally Certified Settlement Class
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                                 UNITED STATES DISTRICT COURT
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                               EASTERN DISTRICT OF CALIFORNIA
14
                                          FRESNO DIVISION
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17    GERALD CARLIN, JOHN RAHM, PAUL             Case No. 1:09 CV 00430-AWI (EPG)
      ROZWADOWSKI and DIANA WOLFE,
18    individually and on behalf of themselves   CLASS ACTION
      and all others similarly situated,
19                                               [PROPOSED] ORDER GRANTING
                        Plaintiffs,              UNOPPOSED MOTION TO SUBSTITUTE
20                                               ESCROW AGENT AND TO EXTEND DATE
      v.                                         BY WHEN DEFENDANTS ARE TO PAY
21                                               FIRST SETTLEMENT PAYMENT-
      DAIRYAMERICA, INC. and                     INSTALLMENT
22    CALIFORNIA DAIRIES, INC.,
23                      Defendants.              Date: October 29, 2018
                                                 Time: 1:30 p.m.
24                                               Ctrm: 2, 8th Floor
                                                 Judge: Hon. District Judge Anthony W. Ishii
25                                               Action Filed: March 6, 2009
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     [1:09 CV 00430-AWI (EPG)] [PROPOSED] ORDER
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 1         In consideration of the unopposed motion of Plaintiffs Gerald Carlin, Paul Rozwadowski,

 2   John Rahm, and H. Diana Wolfe to substitute the escrow agent and to extend the date by when

 3   Defendants are to pay the first settlement payment-installment, the unopposed motion is

 4   GRANTED.

 5         IT IS HEREBY ORDERED THAT:

 6         1.     Paragraph 8.1 of the Settlement Agreement is modified to state:

 7                8.1     The Escrow Account will be established at Huntington National Bank

 8         (“Escrow Agent”), such escrow to be administered under the Court’s continuing supervision

 9         and control. Class Counsel shall insist on an escrow agreement that requires appropriate

10         accounting records to be maintained to reflect all transactions involving the Settlement Fund

11         which shall be kept on a calendar year, as required by Treas. Reg. § 1.468B-2(j).

12         2.     Paragraph 7.1 of the Settlement Agreement is modified to state:

13                7.1     Monetary Payment. Defendants will pay an aggregate of $40,000,000 (the

14         “Settlement Amount”) in two payment-installments of $20,000,000 each. The first

15         payment installment of $20,000,000 in U.S. dollars (“First Payment-Installment”), shall

16         be paid no later than ten (10) business days following completion of all of the following

17         events: (1) the entry of the Preliminary Approval Order; (2) entry of an order adopting

18         this Jointly Agreed-Upon Modification No. 1 to Settlement Agreement; and (3) receipt by
19         Defendants of complete payee information, including an executed Form W-9, and

20         complete payment instructions. The second payment-installment of $20,000,000 in U.S.

21         dollars (“Second Payment Installment”) shall be paid by the later of (a) ten (10) business

22         days following the Effective Date or (b) January 11, 2019.

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     [1:09 CV 00430-AWI (EPG)] [PROPOSED] ORDER                                                      1
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 1         3.     The deadline for Defendants to wire the first payment installment of $20,000,000

 2         in U.S. dollars is extended from September 28, 2018 to ten (10) business days from the

 3         completion of both of the following events: (1) entry of this order; and (2) the receipt by

 4         Defendants of complete payee information, including an executed Form W-9, and

 5         complete payment instructions.

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     IT IS SO ORDERED.
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 8   Dated: October 2, 2018
                                                SENIOR DISTRICT JUDGE
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     [1:09 CV 00430-AWI (EPG)] [PROPOSED] ORDER                                                      2
